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    7                         IN THE UNITED STATES DISTRICT COURT
    8                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
    9
   10                                             )   Case No. 5:18-cv-01367-AB-AS
        MONSTER ENERGY COMPANY,
                                                  )
        a Delaware corporation,
   11                                             )
                                                  )   OPPOSITION TO PLAINTIFF’S
                      Plaintiff,
   12                                             )   MOTION TO STRIKE DEFENDANTS’
                                                  )   COUNTERCLAIM AND
   13          v.
                                                  )   AFFIRMATIVE DEFENSES
   14   THUNDER BEAST LLC, a District of          )
        Columbia limited liability company, and   )   Date:   October 19, 2018
   15   STEPHEN NORBERG, an individual,           )   Time:   10:00 a.m.
                                                  )   Ctrm:   7B
   16                                             )
        Defendants.                                   Hon. André Birotte Jr.
                                                  )
   17                                             )
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    1          Defendants hereby submit their response in opposition to Plaintiff’s Motion to Strike.

    2   For the reasons set forth below, Defendants respectfully request that the Court deny Plaintiff’s
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        Motion and allow Defendants’ claims and defenses to be properly investigated through fact
    4
        discovery and a hearing on the merits.
    5
               I.       INTRODUCTION
    6
               It is understandable that Plaintiff does not want Defendants’ claims and defenses to see
    7

    8   the light of day. Defendants have accused Plaintiff of serious and intentional wrongdoing.

    9   Naturally, Plaintiff would prefer if such allegations were stricken. Unfortunately for Plaintiff,
   10   litigants do not get to strike claims and defenses they dislike. The adversarial system carefully
   11
        safeguards each party’s right to gather facts relevant to their claims, and to be heard on the
   12
        merits of their respective case. Here, Defendants have properly set forth affirmative defenses
   13
        and counterclaims for which they have ample factual support and evidence. Defendants are
   14

   15   entitled to the opportunity to corroborate their evidence through the discovery process, and to

   16   bring those claims and defenses that survive fact investigation before this Court for substantive

   17   adjudication.
   18
               II.      ISSUE TO BE DECIDED
   19
               The Court must decide whether Plaintiff has satisfied the strict requirements under Rule
   20
        12(f) of the Federal Rules of Civil Procedure to preliminarily strike matter from Defendants’
   21
        Answer and Counterclaims prior to fact discovery, investigation, or substantive discussion of
   22

   23   those claims.

   24          III.     RELEVANT FACTS

   25          Defendants have been operating a small-batch, craft root beer business under their
   26
        THUNDER BEAST mark since 2012. In 2016, after Defendants had been thriving for four
   27

   28                                               -1-                     Opposition to Motion to Strike
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    1   years without complaint or interference, Plaintiff petitioned the United States Patent and

    2   Trademark Office to cancel Defendants’ trademark registration. Plaintiff’s action against
    3
        Defendants was one of one thousand eleven (1,011) similar proceedings brought by Plaintiff
    4
        against third-party users of the words “MONSTER” or “BEAST” before the U.S. Trademark
    5
        Trial and Appeal Board. See TTABVUE, the Trademark Trial and Appeal Board Inquiry
    6
        System, available at: https://www.ttabvue.gov (last visited September 28, 2018) (listing forty-
    7

    8   one pages of results for proceedings instituted by Plaintiff Monster Energy Company since

    9   2010).
   10            Contrary to Plaintiff’s claims, these 1,011 proceedings were not thoughtfully instituted
   11
        against malfeasants or opportunistic copycats. Instead, they were indiscriminately and
   12
        automatically filed by Plaintiff against nearly every new trademark application incorporating
   13
        those dictionary words Plaintiff seeks to monopolize exclusively for itself. On information and
   14

   15   belief, Plaintiff learns of each such application by employing a trademark watch service, which

   16   alerts Plaintiff to any database entry in the United States Patent and Trademark Office’s TESS

   17   (Trademark Electronic Search System) that meets Plaintiff’s criteria; specifically, any entry at
   18   all that includes “MONSTER” or “BEAST,” in any format, and for any goods or services,
   19
        regardless of how far extenuated or dissimilar they may be to Plaintiff’s MONSTER ENERGY
   20
        marks. 1 Plaintiff then institutes proceedings against each newcomer, filing motion upon
   21
        extraneous motion and clogging the court’s dockets until the competition defaults or surrenders.
   22

   23            Plaintiff is well-known for its wielding of litigation and the threat of litigation to secure a

   24
        1
   25     Examples of defendants Plaintiff has sought to crush through its notoriously aggressive litigation tactics
        range from plush toy maker PILLOW MONSTER, to online fish hobbyist forum
   26   MONSTERFISHKEEPERS, to vehicle tow hook manufacturer MONSTER HOOKS, to oversized beach
        towel retailer MONSTER TOWEL. Plaintiff has even attempted to bully Disney out of incorporating the
   27   word MONSTER into MONSTERS UNIVERSITY merchandise.

   28                                                  -2-                       Opposition to Motion to Strike
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    1   monopoly over dictionary words far greater than the Lanham Act allows. In 2012, 2013, 2014,

    2   2015, 2016, and 2017, Plaintiff was honored with the title of this country’s “Biggest Trademark
    3
        Bully” by Trademarkia.com, based on the sheer number of proceedings it has filed and the lack
    4
        of basis for each complaint. 2 Plaintiff has also been highlighted by legal scholars as an
    5
        illustrative example of trademark bullying behavior, in peer-reviewed articles examining and
    6
        denouncing such practices. See, e.g., Leah Chan Grinvald, Shaming Trademark Bullies, 2011
    7

    8   WIS. L. REV. 625 (2011) (citing one micro-brewery’s resistance to Plaintiff as an example of a

    9   growing trend by small businesses of defending themselves against meritless enforcement
   10   actions such as those routinely brought by Plaintiff); Sara Marie Andrzejewski, Leave Little
   11
        Guys Alone: Protecting Small Businesses from Overly Litigious Corporations and Trademark
   12
        Infringement Suits,19 J. INTELL. PROP. L. 117 (2011-2012) (referencing Plaintiff as an example
   13
        of an overly litigious corporation); Jason Vogel & Jeremy A. Schachter, How Ethics Rules Can
   14

   15   Be Used to Address Trademark Bullying, 103 TRADEMARK REP. 503 (2013) (stating that

   16   Plaintiff’s trademark bullying served as the actual catalyst for Senator Patrick Leahy to include

   17   a trademark bullying study in the Trademark Technical and Conforming Amendment Act of
   18   2010, which examined the negative impact of such behaviors on small businesses and on the
   19
        U.S. economy).
   20
               Plaintiff has additionally been featured for its bogus “enforcement” actions in numerous
   21
        media outlets and websites, including the aptly titled “Monster Energy: The World's Biggest
   22

   23   Bully When It Comes to Small Businesses,” available at

   24   https://www.energydrinkslawsuit.com/monster-energy-worlds-biggest-bully/ (last visited Aug.

   25

   26   2
         Plaintiff dipped to number two in 2018. See https://www.trademarkia.com/opposition/opposition-
   27   brand.aspx.

   28                                               -3-                     Opposition to Motion to Strike
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    1   8, 2018). Several publications have even weighed in on Plaintiff’s instant attack against

    2   Defendants. See Timothy Geigner, Monster Energy Attempts to Run from Laughable Trademark
    3
        Spat It Started with Thunder Beast Root Beer, Techdirt. (2017), available at:
    4
        https://www.techdirt.com/articles/20170329/09452237034/monster-energy-attempts-to-run-
    5
        laughable-trademark-spat-it-started-with-thunder-beast-root-beer.shtml (last visited Aug. 8,
    6
        2018); Steve Birr, Monster Energy Tries to Crush Small Business Brewery In DC, The Daily
    7

    8   Caller, 2016, available at: http://dailycaller.com/2016/03/12/monster-energy-tries-to-crush-

    9   small-business-brewery-in-dc/ (last visited Aug. 8, 2018).
   10          As implied by Mr. Geigner’s article cited above, Plaintiff’s original TTAB proceeding
   11
        against Defendants did not progress well for Plaintiff. For more than two years, Plaintiff and
   12
        Defendants engaged in rigorous litigation before the Trademark Trial and Appeal Board,
   13
        including the taking of multiple discovery and testimonial depositions, the submission of
   14

   15   hundreds of pages of evidence, and the filing of final trial briefs. Despite its efforts, and despite

   16   what has now been eight years of conspicuous co-existence in the marketplace, Plaintiff failed

   17   to uncover a single instance of actual or potential confusion between Defendants’ mark and its
   18   own, nor was it able to show a modicum of bad faith or intent on the part of Defendants.
   19
        Plaintiff attempted to stop the proceeding before it resulted in a damaging judgment against it
   20
        (one which would presumably have a cascade effect on the thousands of other cases it has
   21
        and/or intends to bring). Defendants steadfastly insisted upon continuing towards what they
   22

   23   hoped would be a precedential decision.

   24          On June 27, 2018, in an eleventh hour ploy to avoid a TTAB precedential decision,
   25   Plaintiff filed the instant action against Defendants, then immediately motioned to suspend the
   26
        TTAB case. Respectfully deferring to this Court, the TTAB stopped the clock on the Board
   27

   28                                                -4-                     Opposition to Motion to Strike
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    1   proceeding. Thus, here we stand, starting over from scratch, preparing for another several years

    2   of duplicative bad faith litigation.
    3
                Plaintiff undoubtedly hopes that another several years of litigation will finally be too
    4
        much for Defendants and that Defendants will capitulate. Plaintiff’s motives are certainly not,
    5
        as Plaintiff claims, the redress of putative harm caused by Defendants’ “new” slogan, “DRINK
    6
        THUNDER. FIGHT MONSTERS.” Indeed, Plaintiff has known of Defendants’ “FIGHT
    7

    8   MONSTERS” slogan for over a year, at least as early as March 30, 2017, when Plaintiff

    9   questioned Defendants ad nauseum about the slogan during Plaintiff’s deposition of Defendant
   10   Norberg. See discovery deposition transcript of Stephen Norberg in TTAB Cancellation No.
   11
        92063037, entered into the record previously as Exhibit C to Docket Entry 21.
   12
                Moreover, Plaintiff is well aware that Defendants’ “FIGHT MONSTERS” slogan is used
   13
        in a noncommercial manner to criticize and comment specifically upon Plaintiff’s misuse of the
   14

   15   judicial system. Defendants’ use of “FIGHT MONSTERS” is a commentary on Plaintiff’s

   16   abusive treatment of small businesses, and a call to action to other bullying victims. It is not, as

   17   is clear by the context in which it appears, an attempt to deceive consumers into believing that
   18   Plaintiff and Defendants are affiliated, or to infringe upon Plaintiff’s marks. Indeed, Defendants
   19
        use “FIGHT MONSTERS” to very expressly distance themselves from Plaintiff, rather than
   20
        insinuating any commercial connection whatsoever. See excerpts from Defendants’ website,
   21
        www.drinkthunderbeast.com, shown below:
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   28                                                -5-                    Opposition to Motion to Strike
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   28                                    -6-               Opposition to Motion to Strike
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   28                                    -7-               Opposition to Motion to Strike
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                Because of the nature and context of Defendants’ incorporation of “MONSTERS” into
   15
        its slogan, Defendants’ use of “FIGHT MONSTERS” is explicitly statutorily exempt from
   16
        liability, and could not serve as the basis for Plaintiff’s suit. Plaintiff’s claims are a transparent
   17

   18   grasp at straws.

   19           In short, Plaintiff has exhibited a clear pattern of leveraging abusive litigation tactics to
   20   financially exhaust others who deign to incorporate certain dictionary words into their own
   21
        brand names, including Defendants. The broad aim of Plaintiff’s 1000+ lawsuits is to skirt the
   22
        Lanham Act and antitrust laws by using scurrilous legal proceedings to quash competition,
   23
        thereby gaining an unlawful monopoly on common words. In this case, the secondary result of
   24

   25   Plaintiff’s action, if successful, would be to force Defendants, specifically, out of business by

   26   preventing them from operating under the name, reputation, consumer recognition, and goodwill

   27   they have now spent eight years cultivating.
   28                                                 -8-                     Opposition to Motion to Strike
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    1          The facts above are more than sufficient to serve as solid bases for Defendants’

    2   Counterclaims and Affirmative Defenses.
    3
               IV.     LEGAL STANDARD
    4
               Rule 12(f) defines a narrow category of material that a party may move to strike from a
    5
        pleading; namely, “any insufficient defense or any redundant, immaterial, impertinent, or
    6
        scandalous matter.” Fed. R. Civ. P. 12(f). Rule 12(f) motions are generally disfavored, and they
    7

    8   should be denied “unless it is clear that the matter to be stricken can have no possible bearing

    9   upon the subject matter of the litigation.” Naton v. Bank of Cal., 72 F.R.D. 550, 552 n.4 (N.D.
   10   Cal. 1976).
   11
               The purpose of a legitimate motion to strike is to avoid wasting time and money
   12
        litigating “spurious” or “frivolous” issues. Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th
   13
        Cir. 1993). Courts are “very reluctant” to resolve any issue that is not clearly frivolous in such
   14

   15   motions, especially those that are “disputed or substantial.” McArdle v. AT&T Mobility LLC,

   16   2009 U.S. Dist. LEXIS 89231, at *24–25 (N.D. Cal. Sept. 14, 2009) (disputed or substantial

   17   legal issues are “properly . . . determinable only after discovery and a hearing on the merits.”).
   18
               The Ninth Circuit has a particularly well-established disfavor of motions to strike. 5
   19
        WRIGHT & MILLER, FEDERAL PRACTICE AND PROCEDURE: CIVIL § 1381 (4th ed.
   20
        2013-2017); see also SEC v. Gendarme Capital Corp., et al., No. 2:11-CV-00053-KJM-KJN,
   21
        2012 WL 346457, *1 (E.D. Cal. 2012) (“motions to strike are disfavored and infrequently
   22

   23   granted”); Allen v. Woodford, No. 1:05-CV-01104-OWW-LJO, 2006 WL 1748587, *20 (E.D.

   24   Cal. 2006); Bassiri v. Xerox Corp., 292 F.Supp.2d 1212, 1220 (C.D. Cal. 2003); Quintana v.

   25   Baca, 233 F.R.D. 562, 564 (C.D. Cal. 2005) (“[m]otions to strike are generally regarded with
   26
        disfavor”); U.S. v. Iron Mountain Mines, Inc., 812 F. Supp. 1528, 1535 (E.D. Cal. 1992) (“a
   27

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    1   motion to strike an affirmative defense will not be granted unless it appears to a certainty that

    2   plaintiffs would succeed despite any state of facts which could be proved in support of the
    3
        defense”); Colaprico v. Sun Microsystems, Inc., 758 F. Supp. 1335, 1339 (N.D. Cal. 1991)
    4
        (motions to strike must not be granted “unless it is clear that the matter to be stricken could have
    5
        no possible bearing on the subject matter of the litigation”); United States v. 729.773 Acres of
    6
        Land, More or Less, Situated in City and County of Honolulu, 531 F. Supp. 967, 971 (D. Haw.
    7

    8   1982) ("A motion to strike is a severe measure and it is generally viewed with disfavor.");

    9   Hernandez v. Balakian, 480 F.Supp.2d 1198 (E.D. Cal. 2007) (describing motions to strike
   10   affirmative defenses as having a “dilatory and often harassing character”).
   11
                V.     ARGUMENT
   12
               a.     Defendants’ Unfair Competition Counterclaim Meets or Exceeds Ninth
   13   Circuit Pleading Standards
   14           Plaintiff seeks to strike Defendants’ counterclaim of unfair competition pursuant to Fed.
   15
        R. Civ. P. Rule 12(f). In evaluating Plaintiff’s motion, Rule 12(f) must be read in conjunction
   16
        with Fed. R. Civ. P. 8, which provides general pleading standards, to determine whether
   17
        Defendants’ counterclaim has met federal pleading requirements. See 5 Charles Alan Wright &
   18

   19   Arthur Miller, FEDERAL PRACTICE AND PROCEDURE: CIVIL § 1274 (3d ed. 2013); Ileto v. Glock

   20   Inc., 349 F.3d 1191, 1199–200 (9th Cir. 2003). If a pleading meets Rule 8’s requirements, it

   21   should not be stricken.
   22
                Rule 8(b) requires merely that a pleading that states a claim for relief must contain:
   23
                      (1) a short and plain statement of the grounds for the court's jurisdiction;
   24
                      (2) a short and plain statement of the claim showing that the pleader is entitled to
   25
        relief; and
   26

   27                 (3) a demand for the relief sought, which may include relief in the alternative or

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    1   different types of relief.

    2           In conjunction with Rule 8, two seminal cases govern the adequacy of pleaded
    3
        allegations in federal complaints: Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and
    4
        Ashcroft v. Iqbal, 556 U.S. 662 (2009). In these cases, the Supreme Court held that a plaintiff
    5
        must plead sufficient facts in a complaint to show “a plausible entitlement to relief.”
    6
                Here, Defendants’ unfair competition counterclaim provides all of the above, in detail.
    7

    8   Defendants specify grounds for the court’s jurisdiction, which is not in dispute. Then,

    9   Defendants provide a thorough statement explaining Defendants’ claims, the bases for such
   10   claims, and why Defendants are entitled to relief on those claims.
   11
                Specifically, Defendants state that Plaintiff’s lawsuit is a sham proceeding instituted not
   12
        for the stated purpose of trademark enforcement, but to financially cripple Defendants, to
   13
        impede the judicial process in parallel TTAB Cancellation No. 92063037, and to systematically
   14

   15   seize an unlawful monopoly of common dictionary words to which it is not entitled under law,

   16   all of which caused and will continue to cause economic harm to Defendants. Defendants

   17   further allege that Plaintiff has intentionally and knowingly invoked spurious claims in a manner
   18
        that is unlawful, unfair, wrongful, malicious, and fraudulent, in that they constitute the making
   19
        of frivolous claims, among other wrongdoing.
   20
                Frivolous trademark infringement actions, and the threat of them, are forms of unfair
   21
        competition, as is abuse of the litigation process. Case law provides ample authority for
   22

   23   Defendants’ contention that Plaintiff engaged in unfair competition through its pattern of

   24   frivolous and vexatious filings. See LaMaur, Inc. v. Alberto-Culver Co., 1973 WL 917, *2, 179

   25   U.S.P.Q. 607 (D. Minn. 1973), aff’d, 496 F.2d 618 (8th Cir.), cert. denied, 419 U.S. 902, 42
   26
        L.Ed.2d 148, 95 S.Ct. 186 (1974) (“malicious or excessive threats which go to companies whose
   27

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    1   activities could not possibly be considered as infringing . . . might be construed as an effort to

    2   extend a trademark monopoly beyond its legal limits”); Puritan Sportswear Corp. v. Shure, 307
    3
        F.Supp. 377, 390, 165 U.S.P.Q. 71 (W.D. Pa. 1969) (“[a] claim of trademark infringement must
    4
        be carefully scrutinized to ensure that trademarks and the threat of trademark litigation is not, in
    5
        essence, used in restraint of trade”).
    6
                The unfair and frivolous nature of Plaintiff’s actions is also evidenced by the sheer
    7

    8   number of cases it has filed. Courts have found sanctionable frivolousness in cases in which a

    9   plaintiff has filed far less than the 1000+ complaints filed by Plaintiff Monster Energy
   10   Company. See, e.g., Wood v. Santa Barbara Chamber of Commerce, Inc., 705 F.2d 1515, 1523,
   11
        1526 (9th Cir.1983) (the filing of thirty-five separate actions by a single plaintiff resulted in a
   12
        finding that plaintiff was engaged in unlawful frivolous litigation); In re Oliver, 682 F.2d 443,
   13
        444 (3d Cir.1982) (more than fifty cases was deemed an “inordinate” number for the purpose of
   14

   15   determining frivolousness).

   16           Plaintiff’s pattern of frivolous and abusive litigation, as shown by the staggering number

   17   of complaints it has filed in various tribunals and jurisdictions, 3 and as indicated by Plaintiff’s
   18
        public notoriety for such practices as shown in numerous published articles, websites, and
   19
        journals, provide significant grounds for Defendants’ claim. See Ringgold-Lockhart v. County
   20
        of Los Angeles, 761 F.3d 1057 (9th Cir. 2014). Such grounds may only grow stronger once
   21
        discovery ensues.
   22

   23           Together with Defendants’ specific demand for relief, the above facts and allegations

   24   render Defendants’ Counterclaim proper under Rule 8.
   25

   26   3
          In addition to the 1,011 TTAB proceedings mentioned previously, Plaintiff has filed over fifty similar
        actions in various state and federal courts, including several in this district, as well as lawsuits in N.D.
   27   Ill., E.D. Cal., M.D. Fla., and E.D. NY, among others.
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    1         b.    Defendants’ Unfair Competition Counterclaim is Not Barred by Either the
        Anti-SLAPP Statute Nor the Litigation Privilege
    2
               Even though Defendants have easily met the pleading standards of Fed. R. Civ. P. 8 and
    3

    4   Twombley-Iqbal, Plaintiff argues that Defendants’ counterclaim is barred by the California anti-

    5   SLAPP statute and by the litigation privilege, as codified in California Civil Code Section 47(b).
    6   Plaintiff’s arguments lack merit.
    7
               A cause of action is subject to being stricken under the anti-SLAPP statute only if it
    8
        “arises from protected speech or petitioning and lacks even minimal merit.” Navellier v.
    9
        Sletten, 29 Cal. 4th 82, 89 (2002) (emphasis supplied). To defeat a motion to strike, a cause of
   10

   11   action need not be proven, but rather, must merely be “stated and substantiated.” Rosenthal v.

   12   Great Western Fin. Securities Corp., 14 Cal. 4th 394, 411-12 (1996). Once a plaintiff (or as

   13   here, a counter-plaintiff) shows that “any part of its claim” has minimal merit, “plaintiff has
   14   established that its cause of action has some merit and the entire cause of action stands.” Mann
   15
        v. Quality Old Time Service, Inc., 2004 WL 1463039, *5 (Cal. App. 4 Dist. 2004).
   16
               Here, Defendants more than meet their burden of showing that their counterclaim has
   17
        “minimal” merit. Moreover, Plaintiff’s extraordinarily egregious pattern of litigation misuse,
   18

   19   frivolous claims, and bad faith practices do not fall under the umbrella of “protected” speech or

   20   petitioning intended to be safeguarded by the statute. To the contrary, the anti-SLAPP statute

   21   was enacted in order to prevent precisely the type of suits brought by Monster Energy Company
   22
        and complained of by Defendant in its counterclaim; in other words, those suits initiated by
   23
        well-resourced companies in order, not to redress actual harm, but to silence or crush smaller
   24
        competition. Thus, the very threshold requirement of Plaintiff’s anti-SLAPP claim, namely, that
   25
        its lawsuits arose from “protected activity,” has not been met.
   26

   27          Further, the Ninth Circuit has held that filing a single baseless lawsuit can cause an anti-

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    1   SLAPP movant to lose the First Amendment immunity upon which the statute is predicated. See

    2   Clipper Express v. Rocky Mountain Motor Tariff Bureau, Inc., 690 F.2d 1240 (9th Cir. 1982).
    3
        Here, Defendants allege that Plaintiff has filed over one thousand baseless lawsuits, none of
    4
        which were filed “in furtherance of its petition of free speech rights in connection with a public
    5
        issue.” Plaintiff filed its lawsuits in order to stifle and thwart competition, and to seize an
    6
        unlawful monopoly over common dictionary words beyond what the Trademark Act allows.
    7

    8   Accordingly, Plaintiff is not an appropriate anti-SLAPP complainant, and cannot appropriately

    9   strike Defendants’ counterclaim under the anti-SLAPP statute. See Jarrow Formulas, Inc. v.
   10   LaMarche, 31 Cal.4th 728 (2003).
   11
               Similar to the anti-SLAPP statute’s requirements, a litigant claiming immunity under the
   12
        litigation privilege must show that the lawsuit for which it claims a privilege was made to
   13
        achieve the objects of the litigation, and that it has some connection or logical relation to the
   14

   15   action. West's Ann. Cal. Civ. Code § 47(b). Here, Plaintiff’s lawsuits were not brought in order

   16   to achieve their stated purpose of redressing harm or injury to Plaintiff, nor is the actual purpose

   17   for which the suits were brought connected to any actual harm or injury to Plaintiff. Plaintiff has
   18   yet to prove, in any single case of which Defendants are aware, that it has been harmed by any
   19
        of the small businesses it has attacked, nor by any defendants’ use of the generic words
   20
        “MONSTER” or “BEAST” in their own ventures. Indeed, Plaintiff’s boasts regarding its size,
   21
        fame, and profit undermine its claims that it could possibly be “irreparably harmed” by any of
   22

   23   the micro-businesses and mom-and-pop shops it seeks to shutter. Certainly Plaintiff has not

   24   brought forth any facts whatsoever showing that Defendants in this case have, or could have,

   25   caused an iota of harm to Plaintiff, particularly as the contemporaneous TTAB case has already
   26
        shown that no confusion or injury has taken place.
   27

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    1          If Plaintiff had brought this, and its other 1000+ lawsuits, for the genuine purpose of

    2   redressing trademark infringement, then Plaintiff would be shielded from claims of unfair
    3
        competition based upon such filings. But Plaintiff did not bring its lawsuits for such purpose.
    4
        Plaintiff’s actual purpose, which was to use the court as a sword to strike down others engaging
    5
        in lawful business activities, had no connection or logical relation to its stated causes of action,
    6
        and is therefore not privileged. Applying privilege to Plaintiff’s frivolous actions would
    7

    8   effectively and improperly immunize conduct prohibited by the Lanham Act and by California

    9   Unfair Competition law. Oei v. N. Star Capital Acquisitions, LLC, 486 F.Supp.2d 1089 (2006).
   10         c.     Defendants’ Unclean Hands and Trademark Misuse Affirmative Defenses
   11   Are Properly Pled and are Not Barred by the Noerr-Pennington Doctrine

   12          Affirmative defenses are found by the Ninth Circuit to be sufficiently pled if they

   13   provide the plaintiff with "fair and adequate notice." Wyshak v. City National Bank, 607 F.2d
   14   824, 827 (9th Cir. 1979). Fair notice does not require that a party plead an affirmative defense
   15
        with particular specificity. Wong v. U.S., 373 F.3d 952, 969 (9th Cir. 2004). Indeed, "Rule 8(b)
   16
        and Rule 8(c) contain no language that pleaders must show that they are entitled to relief on
   17
        their affirmative defenses." Memory Control Enter. LLC v. Edmunds.com, Inc., 2012 WL
   18

   19   681765, at *4 (C.D. Cal. 2012).

   20           Generally, simply pleading the name of the affirmative defense is sufficient. United

   21   States v. Global Mortgage Funding, Inc., No. SA-CV-071275, 2008 WL 5264986, *2 (C.D. Cal.
   22
        2008); see also Verco Decking, Inc. v. Consol. Sys., Inc., No. CV-11-2516, 2013 WL 6844106,
   23
        *5 (D. Ariz. 2013) ("[T]he only pleading requirement for an affirmative defense, as opposed to a
   24
        defense or a claim, is that a party must affirmatively state it."); Federal Trade Commission v.
   25
        Hope Now Modifications, LLC, No. 09-1204 (JBS/JS), 2011 WL 883202, *2 (D.N.J. 2011)
   26

   27   (whereas Rule 8(a)(2) governing federal complaints requires a plaintiff to "show that the pleader

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    1   is entitled to relief," Rule 8(c)(1) governing defenses merely requires a defendant to "state any

    2   avoidance or affirmative defense"); Tyco Fire Products v. Victaulic Company, 777 F.Supp.2d
    3
        893 (E.D. Pa. 2011) (“An affirmative defense need not be plausible to survive; it must merely
    4
        provide fair notice of the issue involved .... the requisite notice is provided where the affirmative
    5
        defense in question alerts the adversary to the existence of the issue for trial. Providing
    6
        knowledge that the issue exists, not precisely how the issue is implicated under the facts of a
    7

    8   given case, is the purpose of requiring averments of affirmative defenses. Thus, the Court will

    9   only strike defenses challenged on sufficiency grounds if they do not meet this low standard.”);
   10   Charleswell v. Chase Manhattan Bank, N.A., No. 01-119, 2009 WL 4981730, at *4 (D.V.I. Dec.
   11
        8, 2009) (there is no requirement in Rule 8(c) for a defendant to "show any facts at all").
   12
               Here, Defendants do significantly more than affirmatively state their defenses.
   13
        Defendants are also explicit in setting forth the facts and grounds for such defenses. This is
   14

   15   enough to withstand a motion to strike. See Gen-Probe Inc. v. Becton Dickinson and Co., 2010

   16   WL 4442731, *1 (S.D. Cal. 2010) ("Because BD has identified and affirmatively stated that it

   17   intends to assert an unclean hands defense, BD has met its pleading obligation under Rule
   18
        8(c)."); Simmons v. Navajo County, Ariz., 609 F.3d 1011, 1023 (9th Cir. 2010).
   19
               Even viewed independently, but certainly when viewed together, the various paragraphs
   20
        of Defendant’s Answer and Counterclaims provide ample notice to Plaintiff under Rule 8(c).
   21
        See Williams v. Ashland Eng'g Co., Inc., 45 F.3d 588, 593 (1st Cir. 1995) (“an inquiring court
   22

   23   must examine the totality of the circumstances and make a practical, common sense assessment

   24   about whether Rule 8(c)'s core purpose - to act as a safeguard against surprise and unfair

   25   prejudice - has been vindicated”); AEL Financial, LLC v. Burns, 2010 WL 4313988, *2 (N.D.
   26
        Ill. 2010) (read in its entirety, answer with list of conclusory affirmative defenses, along with
   27

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    1   factual background, satisfied Rule 8(c)); Schlottman v. Unit Drilling Co., LLC, No. Civ-08-

    2   1275-C, 2009 WL 1764855, *1 (W.D. Okla. 2009) (the sufficiency of affirmative defenses must
    3
        be compared and considered in the context of the pleadings as a whole).
    4
                Defendant has either met or exceeded its pleading obligation under Rule 8(c). Further,
    5
        Plaintiff has not shown that it has been hampered by Defendants’ pleading, nor has Plaintiff
    6
        articulated any prejudice that would result from a denial of its Motion to Strike, even if
    7

    8   Defendants’ unclean hands and trademark misuse defenses eventually prove to be duplicative

    9   after factual investigation. 4 This failure, in itself, may be fatal to Plaintiff’s claims. See 5
   10   WRIGHT & MILLER, FEDERAL PRACTICE & PROCEDURE, § 1381 (4th ed. 2013-2017) (“even
   11
        when technically appropriate and well-founded, Rule 12(f) motions often are not granted in the
   12
        absence of a showing of prejudice to the moving party”).
   13
                Plaintiff invokes the Noerr-Pennington doctrine, not to deny the merits or substance of
   14

   15   Defendants’ defenses, but to claim immunity from them. The Noerr-Pennington doctrine, which

   16   provides immunity for certain antitrust claims brought under the Sherman Act (which,

   17   incidentally, are not alleged in the instant action), protects bona fide efforts to obtain or
   18   influence legislative, executive, judicial or administrative actions.
   19
                If the purported effort to influence or obtain government action is in reality only an
   20
        attempt to interfere with the business relationships of a competitor, however, the activity does
   21
        not enjoy antitrust immunity. Eastern Railroad Presidents Conference v. Noerr Motor Freight,
   22

   23   Inc., 365 U.S. 127, 144 (1961). Baseless protests, instituted without regard to merit, are

   24   “nothing more than an attempt to interfere directly with the business relationships of a

   25

   26   4
         Defendants will of course voluntarily withdraw any claim or defense that, after fact investigation,
        cannot be proven or pled in good faith. As of this date, each and every one of Defendants’ claims and
   27   defenses is understood to be valid and supported by information and genuine belief.
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    1   competitor.” Noerr, 365 U.S. at 144, 81 S.Ct. at 533. This is known as the sham exception.

    2   Allegations such as Defendants have made in this case, that a plaintiff has instituted proceedings
    3
        without probable cause, and regardless of merit, state a cause of action which falls squarely
    4
        within the sham exception to Noerr-Pennington. See California Transport v. Trucking
    5
        Unlimited, 404 U.S. at 512-13 (1971) (a pattern of filing baseless, repetitive claims violates and
    6
        abuses judicial processes and cannot acquire immunity by seeking refuge under the umbrella of
    7

    8   “political expression”).

    9           In an analogous case to the present one, Otter Tail Power Co. v. United States, 410 U.S.
   10   366 (1973), the repetitive use of litigation was designed principally to prevent third parties from
   11
        entering the market, and thereby to preserve defendant's monopoly. In that case, the litigation
   12
        was found to “come within the sham exception to the Noerr doctrine,” and to therefore not be
   13
        immune from challenge.
   14

   15           The facts here show that Plaintiff’s conduct is not the type that is entitled to immunity.

   16   Plaintiff’s lawsuits are spurious, baseless, and prosecuted without regard to their merit, intended

   17   only to suppress competitive action, and not to influence governmental action.
   18
                The sham exception reflects a judicial recognition that not all activity that appears to be
   19
        bona fide litigation is actually an exercise of the first amendment right to petition. Sometimes,
   20
        as is the case here, activity disguised as petitioning is, in reality, an effort to interfere directly
   21
        with a competitor or to secure an unlawful monopoly. In this instance, Plaintiff’s sham
   22

   23   petitioning activity is not entitled to first amendment protection, because it is not an exercise of

   24   first amendment rights.

   25           VI.     CONCLUSION
   26
                The Court should deny Plaintiff’s Motion and allow the parties to vet Defendants’
   27

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    1   counterclaim and affirmative defenses through discovery, dispositive motion practice, and, if

    2   necessary, at trial. In the alternative, the Court should grant Defendant leave to amend any
    3
        counterclaims or affirmative defenses it deems deficient.
    4
        Dated: September 28, 2018                    Respectfully submitted,
    5
                                                     BARTON GILMAN LLP
    6
                                                     By: /s/ Eve J. Brown_____
    7
                                                        Eve J. Brown
    8
                                                     Attorney for Defendants
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   28                                             - 19 -                 Opposition to Motion to Strike
